Case 1:22-cv-00704-HYJ-RSK       ECF No. 71, PageID.2324   Filed 12/04/24   Page 1 of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN


 MATTHEW KOTILA and ROBERT
 CRAUN, individually and on behalf of all       Case No. 2:22-CV-00704-HYJ-RSK
 others similarly situated,
                                                Hon. Hala Y. Jarbou

                   Plaintiffs,                  Mag. Judge Ray S. Kent

       v.

 CHARTER FINANCIAL PUBLISHING
 NETWORK, INC.,


                   Defendant.

                PLAINTIFFS’ MOTION FOR DEFENDANT
              TO BE HELD IN CIVIL CONTEMPT OF COURT
Case 1:22-cv-00704-HYJ-RSK     ECF No. 71, PageID.2325      Filed 12/04/24   Page 2 of 8




       Plaintiffs Matthew Kotila and Robert Craun, Court-appointed Class

 Representatives for the certified Settlement Class, by and through Court-appointed

 Class Counsel, submit this motion for Defendant Charter Financial Publishing

 Network, Inc. to be held in contempt of court. 1

       1.     On June 26, 2024, the Court entered a Final Judgment and Order of

 Dismissal with Prejudice (ECF No. 68 (the “Final Judgment”)), finally approving

 the class action settlement in this matter and ordering that “[p]ayment to be

 distributed to Plaintiff by Defendant no later than December 2, 2024.” Id. ¶ 19. 2

       2.     As of the filing of this Motion, Defendant has failed to fund the

 settlement as ordered by the Court in the Final Judgment. See Exhibit 1, Declaration

 of Patrick M. Passarella of Kroll Settlement Administration LLC Regarding

 Settlement Funding and Administration Costs (“Passarella Decl.”). ¶ 5.

       3.     Accordingly, the Court should hold Defendant in civil contempt

 pursuant to Federal Rule of Civil Procedure 70. See Fed. R. Civ. P. 70(e); see also



 1
         Undersigned Class Counsel certifies that Class Counsel communicated with
 Defendant’s counsel via email on December 3-4, 2024, explaining the nature of the
 relief to be sought by way of this motion and seeking his client’s concurrence. On
 December 3, 2024, Defendant’s counsel responded that Defendant has requested
 until December 13, 2024 to fund the Settlement, but otherwise has not provided
 Defendant’s position or concurrence in the filing of this Motion.
 2
         The December 2, 2024 payment deadline was set after Defendant
 unsuccessfully sought to adjourn the final fairness hearing to secure more time to
 fund the settlement. See ECF Nos. 63, 65, and 67. Instead, the Court chose to extend
 Defendant’s payment deadline to December 2, 2024.

                                           1
Case 1:22-cv-00704-HYJ-RSK      ECF No. 71, PageID.2326       Filed 12/04/24   Page 3 of 8




 Gascho v. Global Fitness Holdings, LLC, 875 F.3d 795, 801 (6th Cir. 2017) (civil

 contempt is appropriate when “the opposing party knowingly ‘violated a definite and

 specific order of the court’”) (quoting NLRB v. Cincinnati Bronze, Inc., 829 F.2d

 585, 591 (6th Cir. 1987).

        4.    Notably, Defendant has failed to offer any justification for its failure to

 comply with the Court’s Final Judgment. On November 26, 2024, Class Counsel

 emailed Defendant’s counsel seeking confirmation that Defendant would fund the

 settlement on or before December 2, as ordered by the Court. See Exhibit 2 at Ex.

 A, Declaration of Philip L. Fraietta (email correspondence attached thereto).

 Defendant’s counsel did not reply. See id. The next day, Class Counsel sent another

  e-mail to Defendant’s Counsel seeking confirmation that payment would be made

  on or before the December 2 deadline. Id. Defendant’s counsel responded to this

 second e-mail by stating that he “no longer represent[s] CFPN” and by requesting

 “concurrence with a motion to withdraw as counsel.” Id. Class Counsel promptly

 responded by advising Defendant’s counsel that Plaintiffs and Class Counsel would

 oppose the motion to withdraw at this juncture of the case because corporations

 cannot proceed pro se and because the Class would be prejudiced if Defendant is not

 represented by counsel to oversee payment and settlement administration. Id.

 Defendant’s counsel did not respond to Class Counsel’s e-mail indicating Plaintiffs’

  and Class Counsel’s opposition to the withdrawal of Defendant’s counsel. Id. On



                                            2
Case 1:22-cv-00704-HYJ-RSK       ECF No. 71, PageID.2327      Filed 12/04/24   Page 4 of 8




 December 3, 2024, Defendant’s counsel filed its motion to withdraw as counsel.

 ECF No. 69.

         5.    Prior to the filing of Plaintiffs’ Motion here, the Court-appointed

 Settlement Administrator advised Class Counsel that, to date, Defendant has not

 funded a single dollar of the $1 million settlement fund. Passarella Decl., ¶ 5.

         6.    Defendant’s failure to fund the settlement has prejudiced and will

 continue to prejudice thousands of Class members who have been patiently waiting

 to receive their settlement distributions (each in the amount of approximately $265).

 Defendant’s failure to fund the settlement also has prejudiced and will continue to

 prejudice Plaintiffs (who are owed Court-approved service awards), Class Counsel

 (who are owed a Court-approved fee and expense award), and the Settlement

 Administrator (who has already incurred considerable unreimbursed out-of-pocket

 costs and fees in connection with administering the settlement). See Passarella Decl.

  ¶ 6.

         For the foregoing reasons, the Court should hold Defendant in civil contempt

  of court, attach statutory interest for each day Defendant fails to fund the settlement

  (see 28 U.S.C. 1961), and order any other relief the Court deems appropriate.




                                            3
Case 1:22-cv-00704-HYJ-RSK   ECF No. 71, PageID.2328     Filed 12/04/24   Page 5 of 8




  Dated: December 4, 2024      Respectfully submitted,

                               By: /s/ E. Powell Miller
                               One of Plaintiffs’ Attorneys

                               E. Powell Miller (P39487)
                               THE MILLER LAW FIRM, P.C.
                               950 W. University Drive, Suite 300
                               Rochester, MI 48307
                               Tel: 248.841.2200
                               epm@millerlawpc.com
                               ssa@millerlawpc.com

                               Joseph I. Marchese (P85862)
                               jmarchese@bursor.com
                               Philip L. Fraietta (P85228)
                               pfraietta@bursor.com
                               BURSOR & FISHER, P.A.
                               1330 Avenue of the Americas, 32nd Floor
                               New York, New York 10019
                               Tel: 646.837.7150
                               Fax: 212.989.9163

                               Frank S. Hedin
                               fhedin@hedin.com
                               Arun G. Ravindran
                               aravindran@hedin.com
                               HEDIN LLP
                               1395 Brickell Avenue, Suite 1140
                               Miami, Florida 33131
                               Tel: 305.357.2107
                               Fax: 305.200.8801

                               Class Counsel




                                       4
Case 1:22-cv-00704-HYJ-RSK       ECF No. 71, PageID.2329   Filed 12/04/24   Page 6 of 8




               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERNERN DISTRICT OF MICHIGAN

 MATTHEW KOTILA and ROBERT
 CRAUN, individually and on behalf of all
 others similarly situated,                     Case No. 2:22-CV-00704-HYJ-RSK

                                                Hon. Hala Y. Jarbou
                   Plaintiffs,
                                                Mag. Judge Ray S. Kent
       v.

 CHARTER FINANCIAL PUBLISHING
 NETWORK, INC.,

                   Defendant.

          BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR
       DEFENDANT TO BE HELD IN CIVIL CONTEMPT OF COURT
Case 1:22-cv-00704-HYJ-RSK       ECF No. 71, PageID.2330        Filed 12/04/24    Page 7 of 8




       For Plaintiffs’ brief in support, Plaintiffs rely on the contents of its motion and

 the authorities cited therein, its exhibits, and the other papers filed in this action.


 Dated: December 4, 2024                  Respectfully submitted,


                                          By: /s/ E. Powell Miller
                                          E. Powell Miller (P39487)
                                          epm@millerlawpc.com
                                          THE MILLER LAW FIRM, P.C.
                                          950 W. University Drive, Suite 300
                                          Rochester, MI 48307
                                          Tel: 248.841.2200

                                          Joseph I. Marchese (P85862)
                                          jmarchese@bursor.com
                                          Philip L. Fraietta (P85228)
                                          pfraietta@bursor.com
                                          BURSOR & FISHER, P.A.
                                          1330 Avenue of the Americas, 32nd Floor
                                          New York, New York 10019
                                          Tel: 646.837.7150

                                          Frank S. Hedin
                                          fhedin@hedin.com
                                          Arun G. Ravindran
                                          aravindran@hedin.com
                                          HEDIN LLP
                                          1395 Brickell Avenue, Suite 1140
                                          Miami, Florida 33131
                                          Tel: 305.357.2107

                                          Class Counsel




                                             1
Case 1:22-cv-00704-HYJ-RSK     ECF No. 71, PageID.2331      Filed 12/04/24   Page 8 of 8




                          CERTIFICATE OF SERVICE

       I, E. Powell Miller, an attorney, hereby certify that on December 4, 2024, I

 served the above and foregoing Plaintiffs’ Motion for Defendant to be Held in Civil

 Contempt of Court on all counsel of record by filing it electronically with the Clerk

 of the Court using the CM/ECF filing system.


                                        /s/ E. Powell Miller
                                        E. Powell Miller
                                        THE MILLER LAW FIRM, P.C.
                                        950 W. University Dr., Ste 300
                                        Rochester, MI 48307
                                        Tel: 248.841.2200
